UNITED SU$§`ESMNKREPKCYMT,SQU']]M]DIS'HHQH` DUTELOR]DA
CHAPTER 13 PLAN (Individllal Adillstment of Debts) WWW.flsb.uscourts.gov

DEBTOR: Kenneth Bidun
Last Four Digits of SS# 8037

|:l
|:|

|:| This document is a plan summary. Additional data on file in clerk's office attached to original plan.

Amended Plan (lndicate lst, 2”d, etc. amended, if applicable)
Modified Plan (lndicate ls‘, 2”d, etc. amended, if applicable)

JOINT DEBTOR: Stephanie Bidun CASE NO.: lO-
Last Four Digits of SS#5737

MONTHLY PLAN PAYMENT: Including trustee's fee of lO% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any

portion not collected Will be paid to creditors pro-rata under the plan:

A. $ 67l .00

B. $
C. $

for months l to 60 ;
for months to '
for months to

 

Administrative: Attorney's Fee - $ 4425.00

Balance Due $ 3175.00

 

; in order to pay the following creditors:

TOTAL PAlD $ 1250.00

payable $ 529.17 /month (Months l

t06)

Secured Creditors: [Retain Liens pursuant to ll U.S.C. § 1325 (a)(S)] Mortgage(S)/Liens on Real or Personal Property:

l

 

 

 

 

 

Arrearage on Petition Date $

Address: Arrears Payment $ /month (Months to )
Regular Payment $ /month (Months to )

Account No:

2. Arrearage on Petition Date $ y

Address: Arrears Payment $ /month (Months to )
Regular Payment $ /month (Months to )

Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION (UTILIZING LOCAL FORM MOTION TO
VALUE COLLATERAL IN PLAN) WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 and LR 3015-3.

 

 

 

 

 

acct #4386540319186897

Secured Creditor Description of Collateral Interest Plan Payments Months of Payment Total Plan Payments
and Value of Collateral Rate
$0.00 as to this M j M TO $0.00
creditor. The value of MN_A_ This claim shall be
the property is less MM LHR}M
than the amount of PO BOX 13765 m_(”{tg§th€n
the lsr mortgage ROaIlOke VA 24037, against the referenced
' and real propeg and
g mi ______g_
Pro e desc: PO BOX 31 179 treated as a eneral
. . unsecured clann.
PALMETTO PARK Winston Salem NC
TERRACE UNIT 9 27102
LT l BLK 12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 10-45193-EPK Doc 9 Filed 11/16/10 Page 2 of 2
Priorig; Creditors: [as defined in ll U.S.C. §507]

 

1. TotalDue $

Payable $ /month (Months___ to _) Regular Payment $
2. TotalDue $

Payable $ /month (Months_ to _) Regular Payment $

Unsecured Creditors: Pay $ 80.83 /month (Months _1 to 6 )
Pay $ 610.00 /month (Months _Z to 60 l

Pro rata dividend will be calculated by the Trustee upon review of filed claims alter bar date.

Other Provisions Not Included Above: ([*Attv Fees - $3 500 + $750 MTV + 3150 expenses +$25 MTV expensel

Bank of America#9998 (mortgage - home -Boca Raton FL) paid direct outside Plan; Wells Fargo Bank ( aka Wachovia) #6897
(mortgage - horne -Boca Raton FL) stripped per Mtn Value Collateral noted above; Bank of Ainerica #2287 ( auto loan -

2008 Honda CRV) paid direct outside Plan; Debtor reserves right to modify Plan after Confirmation;

 

 

 

 

 

 

 

 

De%r Joiiit Debt(')r

Date:Z///o/ /ZU)D Date: //’ /L"/g

